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                    IN THE UNITED STATES DISTRICT C URT
                         NORTHERN DISTRICT OF TEXAS                                   JAN 1 8 2019
                             FORT WORTH DIVISION
                                                                                CLERK. U.S. DISTRICT COURT
MICHAEL D. PRICE,                                §
                                                 §                                B~·-------
                                                                                      bcputy
            Plaintiff,                           §
                                                 §
vs.                                              §    NO. 4:18-CV-057-A
                                                 §
UNITED WAY OF TARRANT COUNTY,                    §
                                                 §
            Defendant.                           §


                          MEMORANDUM OPINION AND ORDER

      Came on for consideration the motion of defendant, United

Way of Tarrant County, for summary judgment. The court, having

considered the motion, the response of plaintiff, Michael D.

Price, the reply, the record, and applicable authorities, finds

that the motion should be granted.

                                                I.

                                  Plaintiff's Claims

      The operative pleading is plaintiff's second amended
                                                                        1
original complaint filed August 17, 2018. Doc.                              27. In it,

plaintiff alleges that he is a sixty-year-old African-American

information technology executive with over twenty years of

industry experience. He was hired by defendant in June of 2002

and was employed as its vice president of information technology

and chief security officer until June 30, 2017, when he was

abruptly terminated. Id. ,              7.


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      The "Doc.   " reference is to the number of the item on the docket in this action.
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        Plaintiff asserts claims for race discrimination and

retaliation in violation of 42 U.S.C.       §   1981 and for age

discrimination in violation of Chapter 21 of the Texas Labor

Code.

                                    II.

                         Grounds of the Motion

        Defendant says that plaintiff is unable to establish a prima

facie case of race or age discrimination or retaliation. And,

further,    even if he could, he cannot show that defendant's reason

for its actions was pretext for discrimination or retaliation.

                                   III.

                      Summary Judgment Principles

        Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim or defense

if there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.           Fed. R. Civ.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986).     The movant bears the initial burden of pointing out to

the court that there is no genuine dispute as to any material

fact.     Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).

The movant can discharge this burden by pointing out the absence

of evidence supporting one or more essential elements of the

nonmoving party's claim,    "since a complete failure of proof


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concerning an essential element of the nonmoving party's case

necessarily renders all other facts immaterial."                                       Id. at 323.

Once the movant has carried its burden under Rule 56(a), the

nonmoving party must identify evidence in the record that creates

a genuine dispute as to each of the challenged elements of its

case.          Id. at 324; see also Fed. R. Civ. P. 56(c)                              ("A party

asserting that a fact                             is genuinely disputed must support

the assertion by                             citing to particular parts of materials in

the record                      • II )   •   If the evidence identified could not lead

a rational trier of fact to find in favor of the nonmoving party

as to each essential element of the nonmoving party's case, there

is no genuine dispute for trial and summary judgment is

appropriate.              Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 597 (1986).                          In Mississippi Prot. & Advocacy

Sys., Inc. v. Cotten, the Fifth Circuit explained:

        Where the record, including affidavits,
        interrogatories, admissions, and depositions could not,
        as a whole, lead a rational trier of fact to find for
        the nonmoving party, there is no issue for trial.

929 F. 2d 1054, 1058                     (5th Cir. 1991).

        The standard for granting a motion for summary judgment is

the same as the standard for rendering judgment as a matter of

law.'         Celotex Corp., 477 U.S. at 323.                        If the record taken as a


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            In Boeing Co. v. Shipman, 411 F.2d 365, 3 74-75 (5th Cir. 1969) (en bane), the Fifth Circuit
                                                                                                (continued ... )

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whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.

Matsushita, 475 U.S. at 597; see also Mississippi Prat. &

Advocacy Sys.,          929 F.2d at 1058.

                                                 IV.

               Facts Established By Summary Judgment Evidence

        Tracy D. Smyers ("Smyers") is president and chief executive

officer of defendant and has served in that role since July 1,

2017. He is a fifty-six year old white male. He was hired in

October 2015 to become defendant's executive vice president and

succeed Tim McKinney ("McKinney"), then president and chief

executive officer, who had announced that he planned to retire by

June 30, 2017. Doc. 42 at 105. When Smyers was hired, defendant

was experiencing a slow but steady decline in donations. One of

his primary mandates was to assess operations and develop a

strategy for revitalizing defendant's finances and community

impact. Id. at 106.

        Defendant's fiscal year runs from July 1 through June 30. In

the 4th quarter of 2017                (around March 2017), defendant realized

that it was going to miss budget by a significant amount. Smyers

worked with Brandon Booker ("Booker"), chief financial officer,


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          ( ••• continued)
explained the standard to be applied in determining whether the court should enter judgment on motions
for directed verdict or for judgment notwithstanding the verdict.

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to find ways to cut expenses. 3 Doc. 42 at 1-2; 106. Working with

department heads, Smyers and Booker proposed making over $300,000

in expense reductions and cutting $1,000,000 in allocations to

defendant's partner organizations. Id. at 2; 106. Defendant's

board of directors rejected the proposal,                            instructing that

internal expenses should be reduced instead of cutting

allocations. Id. Booker determined that significant savings might

be achieved by cutting a call-center (referred to as "2-1-1") and

outsourcing the IT functions. Id.                        Smyers and Booker decided to

pursue bids from IT companies, receiving 3 or 4 bids. They

discussed the idea with plaintiff and understood that plaintiff
                                                                                       4
was considering forming a company to bid on the work.

Consequently, plaintiff was eliminated from the process of

vetting potential bids. Plaintiff did not submit a bid himself.

Id. He did solicit and submit at least one bid from a potential

vendor. Id. at 2.

        One of defendant's board members led Booker to work with

Carline Marlow, another IT director. She recommended that

defendant select TriQuest Technologies to do the IT work. Doc. 42




      'Booker, a white male born in 1981, served as chief financial officer from July I, 2015, through
December I, 2017. Doc. 42 at I.
        4
         Plaintiffhad earlier discussed a plan to lower IT costs, which he described as "insourcing." Doc.
42 at 151-53. Plaintiff assumed from the wording of an email Smyers sent him in April 2017 that Smyers
was referencing this idea for lowering costs . .!!lat 153.

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at 2. Defendant entered into an agreement with TriQuest. 5 Id. at

2; 106. Defendant saved at least $100,000 per year as a result of

the outsourcing of IT. Id. Defendant's IT department, including

plaintiff and two younger white male employees', was laid off as

of June 30, 2017. Id. at 3. The only operational function

previously performed in the IT department that was not outsourced

concerned •eway,• a program that supported fundraising efforts of

defendant's resource development department. A forty-six year old

white female employee, Erin Bolden, who was primarily responsible

for the eWay program was retained and transferred to the resource

development department. 7 She had no role in providing IT support

or services following the move. Id. at 3; 122. Booker

administered the IT contract with TriQuest; he did not perform

any IT functions.' Id. at 3; 107. Following the outsourcing of

the IT department, there were no open positions for which

plaintiff qualified and there were no positions similar to the

role he formerly held. Id. at 107. Defendant's reduction in force

included just under thirty employees. Id. at 122.



       'Contrary to the allegation of plaintiffs complaint, Booker had no family connection with
TriQuest. Doc. 42 at 3.

       6
           The white males were ages 42 and 24. Doc. 42 at 122.

        7
           Her salary at the time was $48,662; plaintiffs salary was $113,800. Doc. 42 at 122-23.
       8
         Plaintiffhas no personal knowledge of what Booker has been doing relative to IT functions
since July l, 2017, when he was terminated. Doc. 42 at 163.

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     Plaintiff got along well with Smyers, but something--

plaintiff did not know what it was--turned Smyers against him.

Doc. 54 at APP 24. At "that little flipping point," Smyers

started treating plaintiff totally differently. Id. APP 24, APP

26. The change started in March 2017 when McKinney sent plaintiff

an email saying that there had been a security breach of

defendant's mail server. Id. APP 27-28, APP 542. McKinney told

another member of the IT department that "after discussing it

with the lawyers he felt he had no choice but to do an

investigation." Id. at APP 67 8.     (The allegation was that

plaintiff provided copies of emails to other executive team

members who requested them. Doc. 72 at 76. The allegation was not

proved,   id. at 77, although plaintiff admitted that he had

accessed emails for others in the past, Doc. 42 at 170.)

                                    v.
                                Analysis

     To establish a prima facie case of discrimination in a

reduction in force case, plaintiff must show that:          (1) he is

within the protected group;     (2) he has been adversely affected by

defendant's decision;    (3) he was qualified to assume another

position at the time of his discharge; and (4) there is evidence,

direct or circumstantial, from which a factfinder might

reasonably conclude that defendant intended to discriminate in


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reaching the decision at issue. Quintana v. Fujifilm N. Am.

Corp., 96 F. Supp. 3d 601, 613      (N.D. Tex. 2015). In a case like

this, where the plaintiff has not been replaced, he can establish

the fourth element by showing that members outside the protected

class remained in similar positions after the reduction in force.

Id. at 614. If plaintiff establishes a prima facie case, the

burden of production shifts to defendant to articulate a

legitimate, non-discriminatory reason for the challenged

employment action. Id. at 611-12. Plaintiff must then make an

ultimate showing of discrimination, either showing that the

reason stated by defendant was a pretext for discrimination or

that defendant's reason, while true, was only one reason for its

conduct and discrimination is another motivating factor. Id. at

612.

       Here, plaintiff argues both that he was qualified to assume

another position and that someone outside the protected class

remained in a similar position after the reduction in force. His

arguments center around Bolden, the woman who was retained to run

the eWay program, and Booker. But, to satisfy the "qualified to

assume another position• prong of the prima facie case, plaintiff

must show that there was a vacant position he could have filled.

Glick v. Greatwide Logistics Servs., L.L.C., No. 3:12-CV-246-L,

2013 WL 2355398, at *7 (N.D. Tex. May 29, 2013). Bolden was not


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transferred to an open position; rather, the duties she performed

were moved to a different department,       i.e., they were not

outsourced as the IT responsibilities were. Bolden continued her

work with eWay and did not perform other tasks previously

performed by the IT department. Defendant was not required to

"bump" Bolden in order to retain plaintiff. Walther v. Lone Star

Gas Co.,   952 F.2d 119, 123   (5th Cir. 1992). Further, Bolden's

duties were in no way comparable to plaintiff's.

     Plaintiff argues that Booker took over plaintiff's

responsibilities after the IT department was outsourced, but the

evidence does not support his position. Booker merely took on the

additional duty of overseeing the contract with the IT vendor

after the reduction in force. And, in any event, Booker was the

chief financial officer of defendant and there can be (and has

been) no argument that plaintiff was qualified to take over those

responsibilities.

     A reduction in force is presumptively a legitimate,

nondiscriminatory reason for a discharge. E.E.O.C. v. Texas

Instruments, Inc., 100 F.3d 1173, 1181 (5th Cir. 1996). Thus,

even if plaintiff could make out a prima facie case,           the burden

would be on plaintiff to show that age or race was a motivating

factor for his discharge. See Quintana, 96 F. Supp. 3d at 615-16.

Plaintiff argues that defendant intended to discriminate against


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him in its decision to outsource the IT department, but the

evidence he cites is conclusory and speculative. For example,

plaintiff says that on May 1, 2017, he told McKinney that having

Smyers replace McKinney "was not going to work due to Smyers'

history," Doc. 53 at 4, but he does not cite evidence of the

history to which he refers or how it is relevant to the claims he

is making. Further, plaintiff says he attended meetings when

McKinney made ageist comments but he does not show when those

comments were made. Id. at 6. Plaintiff says he complained that

he was being underpaid compared to white executives, but his

citations do not support that contention. Id. at 9. In fact, when

asked if he specifically complained that he was being paid

unfairly because of his race, plaintiff testified that,                                   "No. I

didn't go there .               ." Doc. 42 at 168. He then began testifying

about discussions in July 2016, a year before the reduction in

force, about cultural problems. Id. Plaintiff speculated that

Smyers and McKinney had been notified that plaintiff assisted

another employee in calling the EEOC, Doc. 54 at APP 29, but when

asked if he informed defendant about his repeated communications

with EEOC, he only identified other minorities and not McKinney

or Smyers or Booker. 9 Id. at APP 33-34. In sum, plaintiff has




        'Plaintiff did identify a board member, Doc. 54 at APP 34, but said that the board member had
been asked to inquire fmiher but never did. Doc. 42 at 159.

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failed to cite probative evidence to show that discrimination was

a motivating factor in defendant's decision to outsource the IT

department. Reed v. Neopost USA, Inc., 701 F.3d 434, 439-40           (5th

Cir. 2012); Quintana,    96 F. Supp. 3d at 615-16,

     To establish a prima facie case of retaliation, plaintiff

must show that: (1) he engaged in protected activity under§ 1981;

(2) an adverse employment action occurred; and (3) a causal

connection exists between the protected activity and the adverse

employment action. McCoy v. City of Shreveport, 492 F.3d 551, 557

(5th Cir. 2007). "Protected activity• means any practice rendered

unlawful, including making a charge, testifying, assisting, or

participating in any investigation, hearing or proceeding, Lopez

v. Kempthorne, 684 F. Supp. 2d 827, 862       (S.D. Tex. 2010). For

there to be a causal connection, the employer must know about the

employee's protected activity. Manning v. Chevron Chem. Co., LLC,

332 F.3d 874, 883   (5th Cir. 2003). Temporal proximity between the

protected activity and the adverse employment action, by itself,

is insufficient to create a genuine issue of material fact as to

causation. Lopez, 684 F. Supp. 2d at 863       (citing cases). Once an

employer offers a legitimate, nondiscriminatory reason that

explains both the adverse action and the timing, plaintiff must

offer some evidence from which to infer that retaliation was the

real motive. McCoy, 492 F.3d at 562. That is, plainntiff must


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prove that the adverse employment action would not have occurred

but for the protected activity. Univ. of Tex. sw. Med. Ctr. v.

Nassar, 570 U.S. 338, 360 (2013).

     In this case, plaintiff has not shown that he engaged in

protected activity of which any decision-maker was aware in such

proximity to the outsourcing of the IT department that a genuine

fact issue as to a discriminatory connection between the two

would exist. Bell v. Bank of Am., 171 F. App'x 442, 444           (5th Cir.

2006); Crevier-Gerukos v. Eisai, Inc., No. CV H-11-0434, 2013 WL

12137089, at *7 (S.D. Tex. June 24, 2013). As noted, supra,

although plaintiff may have communicated with the EEOC on

numerous occasions or engaged in other protected activity, he has

not shown that any decision-maker was aware of his activities.

(The court is not persuaded that plaintiff's having assisted in

discovery on behalf of defendant as part of his job duties is the

kind of participation defined by the statute.) But, even if

plaintiff had been able to make out a prima facie case of

retaliation, he has not shown that but for his protected activity

the IT department would not have been outsourced and plaintiff

would not have lost his job.




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                                   VI.

                                  Order

     The court ORDERS that defendant's motion for summary

judgment be, and is hereby, granted; that plaintiff take nothing

on his claims against defendant; and that such claims be, and are

hereby, dismissed.

     SIGNED January 18, 2019.




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